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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   _______________________________
   SAFE STREETS ALLIANCE, et al.,         Civil Action: No. 15-349-REB-SKC
   Plaintiffs,
   v.
   ALTERNATIVE HOLISTIC
   HEALING, LLC, et al.,
   Defendants.
   ______________________________




   DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR JURY INSTRUCTION AND
                           VERDICT FORM
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          Defendants assert that this court should use its proferred jury instructions and

   verdict form for the following reasons.

      1. The jury instructions and verdict forms submitted by the Plaintiff do not hew with

          the injuries as laid out by the tenth circuit.

      2. The tenth held that the Plaintiffs were able to recover for three separate,

          cognizable injuries. Safe Streets All. v. Hickenlooper, 859 F.3d 865, 885 (10th

          Cir. 2017).

      3. The two injuries which the tenth held that the Plaintiffs can recover under were:

             a. Odorous nuisance injury

             b. Diminished Property Value from odor

             c. Diminished Property Value from an illegal enterprise being operated next

                  door.

      4. There is not a federal theory that allows the Plaintiffs to recover for the common

          law injuries they are attempting to recover under, therefore state law applies

          here.

      5. The language of the jury instructions that the Defendants have presented was

          lifted directly from the Tenth circuit’s opinion that remanded this case to its

          present state at the district court.

      6. Contrary to what the Plaintiffs allege in their memorandum, the tenth circuit not

          only required that the Plaintiffs prove that the Defendants behavior rises to the

          level of a nuisance claim, the tenth circuit admonished the defendants for an

          inability to establish that the Plaintiffs did not have state law property rights.
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     7. The Marijuana Growers have not pointed us to any authority suggesting that a

        landowner's complaints about a neighbor's recurrent emissions of foul odors are

        conceptually unmoored from the owner's property rights. Nor do they contend

        that Colorado's recognition of odorous nuisances is any novel departure from the

        common law of property rights, which Congress incorporated into § 1964(c). See

        Beck, 529 U.S. at 504, 120 S.Ct. 1608. Safe Streets All. v. Hickenlooper, 859

        F.3d 865, 886 (10th Cir. 2017).

     8. That passage is a dependent clause to the preceding paragraph, which

        describes the elements of a state-law nuisance claim, the underlying theory of

        relief as it relates to odors here.

     9. Under Colorado law, “the elements of a claim of nuisance are an intentional,

        negligent, or unreasonably dangerous activity resulting in the unreasonable and

        substantial interference with a plaintiff's use and enjoyment of her property.” Van

        Wyk, 27 P.3d at 391. Thus, “a plaintiff must establish that the defendant has

        unreasonably interfered with the use and enjoyment of her property,” which is “an

        issue of fact” determined by “weigh [ing] the gravity of the harm and the utility of

        the conduct causing that harm.” Id. (citations omitted). “Generally, to be

        unreasonable, an interference must be significant enough that a normal person in

        the community would find it offensive, annoying, or inconvenient.” Id. (citations

        omitted). Safe Streets All. v. Hickenlooper, 859 F.3d 865, 886 (10th Cir. 2017).

     10. The Defendants are not denying that this court has held that the Defendants

        violated the RICO statute, they are only stating, as the Tenth circuit has, that
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        violating RICO is not a claim for relief. There must be some boat by which the

        Plaintiffs claims sail.

     11. The Defendants proposed jury verdict form aligns with the injuries codified by the

        Tenth as to what injuries the Plaintiffs may recover for.

     12. [T]he Reillys can, at most, presently recover only for three types of property

        injuries that were plausibly pled in their Second Amended Complaint: (1) the

        interference with the Reillys' use and enjoyment of their land caused by the

        noxious odors emanating from the Marijuana Growers' operation; (2) the

        diminution in the land's value presently caused by those odors; and (3) the

        diminution in the land's value presently caused by the existence of that publicly

        disclosed, ongoing criminal enterprise adjacent to the Reillys' land.Safe Streets

        All. v. Hickenlooper, 859 F.3d 865, 889 (10th Cir. 2017).

     13. The Plaintiffs proposed verdict form is confusing, and does not align with the

        Tenth circuits holding.

     14. This court should present options for responsibility of the Defendants that mirror

        the Tenth circuit’s ruling.

   DATED: October 1, 2018


                                                           RESPECTFULLY SUBMITTED,
                                                                    /S Matthew W. Buck
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                                CERTIFICATE OF SERVICE


   I, Matthew W. Buck, hereby certify that on October 1, 2018, I served the opposing
   parties with a copy of the foregoing MEMORANDUM IN SUPPORT OF JURY
   INTRUCTIONS AND VERDICT.




                                                                      /S Matthew W. Buck
